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                                          U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                             April 25, 2017

By ECF

The Honorable Naomi Reice Buchwald
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse, Room 2270
500 Pearl Street
New York, New York 10007

                       Re:     United States v. Lena Lasher,
                               S5 12 Cr. 868 (NRB)

Dear Judge Buchwald:

        The Government respectfully writes in response to Lena Lasher’s most recent pro se
motion in the above-captioned matter (Docket Entry No. 325 (“Mot.”)), requesting the Court to
order the Government to “stop . . . from expoliating exculpatory evidence . . . previously withheld.”
(Mot. 1). The Government interprets this motion as request for the Government to be ordered not
to engage in spoliation, that is, “the destruction or significant alteration of evidence, or the failure
to preserve property for another’s use as evidence in pending or reasonably foreseeable litigation,”
the destruction or significant alteration of evidence, or the failure to preserve property for another's
use as evidence in pending or reasonably foreseeable litigation,” West v. Goodyear Tire & Rubber
Co., 167 F.3d 776, 779 (2d Cir. 1999). This motion should be denied on the merits with respect
to all materials except for the digital video recorder (“DVR”) that was the subject of Lasher’s prior
pro se motion, and should be denied as moot with respect to the DVR.

         As an initial matter, the Government is unaware of any authority that the doctrine of
spoliation applies to evidence that remains in the custody of the Government after a criminal case
is closed and judgment is final. As described in the Government’s letter of March 3, 2017,
responding to Lasher’s prior motion, a convicted defendant has no free-standing right to discovery.
Rather, a discovery request must be tethered to and authorized as part of seeking to advance a
timely post-conviction claim recognized by law. Lasher has neither filed nor asserted that she
intends to file such a motion. And in any event, as also described in the Government’s letter of
March 3, 2017, other than the DVR, the materials that Lasher asserts are “exculpatory” were all
previously provided to her prior to trial, with the exception of a hard drive containing surveillance
footage of the outside of the Hellertown and Palmer pharmacies, were also re-provided to her after
trial, and in any event, are anything but exculpatory. Lasher is not entitled to be provided with
copies of these same materials yet again, and accordingly has no right to demand that the
Government retain them, to the extent it has them, indefinitely (although the Government does not
intend to treat such materials differently in this case than they would be treated in any other case,
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which means they would be retained until destroyed pursuant to applicable agency and Department
of Justice disposition schedules). Lasher’s motion with respect to such materials should
accordingly be denied on the merits.

        That leaves the DVR. With respect to the DVR, as described in greater detail in the
Government’s letter of March 3, 2017, the record to date appears to indicate that while the
defendant was made aware in discovery of the DVR, and had an opportunity to examine it, its
contents were not provided to the defendant, despite an apparent request for them, and while there
is no reason whatsoever to believe that those contents are exculpatory, the Government is working
with information technology personnel to explore whether any or all of the contents may be
extracted and then provided to the Lasher. Because that work continues, and because it appears
that the contents of the DVR were not previously provided to Lasher, the Government does not
intend to dispose of the DVR until at least such time as any litigation concerning it is complete
and any resulting judgment is final. In light of this representation, the Court should deny Lasher’s
motion as to the DVR as moot.

                                              Respectfully submitted,

                                              PREET BHARARA
                                              United States Attorney

                                       By:     s/ Daniel C. Richenthal
                                              Daniel C. Richenthal
                                              Kristy J. Greenberg
                                              Assistant United States Attorneys
                                              (212) 637-2109/2469

cc:    (By First Class Mail)

       Lena Lasher
       Federal Register Number 67662-054
       FCI Danbury
       Federal Correctional Institution
       Route 37
       Danbury, CT 06811
